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                                                     JUDGE DURKIN
                                               MAGISTRATE JUDGE FINNEGAN
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